             Case 2:09-cr-00222-TLN Document 188 Filed 05/08/13 Page 1 of 4


1    BENJAMIN B. WAGNER
     United States Attorney
2    TODD D. LERAS
     Assistant U.S. Attorney
3    501 I Street, Ste 10-100
     Sacramento, CA 95814
4    Telephone (916) 554-2918
5
6
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA        ) CR. NO. 2:09-cr-0222 TLN
                                     )
12                  Plaintiff,       )
               v.                    ) STIPULATION AND ORDER
13                                   ) CONTINUING STATUS CONFERENCE
                                     )
14   KHAMLE KEOVILAY,                )
     DAVID PAKHO CHENG,
     MINH YAT THAM,                  )
15   DUNG NGUYEN,                    )
     SANG HIN SAELEE,
     LONG HOANG NGUYEN, and          )
16   TUAN DAO,                       )
                                     )
17                  Defendants.      )
18   _______________________________ )

19
20          The United States of America, through Assistant United States

21   Attorney Todd D. Leras, and Attorney Dennis Waks on behalf of Khamle

22   Keovilay, Attorney Alice Wong on behalf of David Cheng, Attorney

23   Michael Bigelow on behalf of Minh Tham, Attorney Michael Long on

24   behalf of Dung Nguyen, Attorney Olaf Hedberg on behalf of Sang

25   Saelee, Attorney Christopher Wing on behalf of Long Nguyen, and

26   Attorney Ken Giffard on behalf of Tuan Dao, stipulate and agree to

27   set this matter for a Status Conference on June 6, 2013, at 9:30

28   a.m.

                                             1
           Case 2:09-cr-00222-TLN Document 188 Filed 05/08/13 Page 2 of 4


1         On April 4, 2013, the Honorable Morrison C. England, Jr., Chief
2    Judge for the United States District Court, Eastern District of
3    California, issued an Order reassigning this case to newly-appointed
4    United States District Court Judge Troy L. Nunley.          The matter had
5    previously been assigned to United States District Judge Garland E.
6    Burrell, Jr.   This case involves an alleged drug distribution
7    conspiracy discovered during the course of court-authorized
8    wiretaps.   The discovery is voluminous.       The government has provided
9    Plea Agreements or made settlement proposals to all defendants in
10   the case.   Defense counsel need additional time to review the
11   proposals with their clients.      The additional time is therefore
12   needed for attorney preparation and continuity of counsel.             All
13   parties request that time be excluded pursuant to 18 U.S.C. §
14   3161(h)(7)(B)(iv) - Local Code T-4 (attorney preparation and
15   continuity of counsel).     The parties agree to an exclusion of time
16   for the reasons stated above for the period from May 3, 2013 up to
17   and including June 6, 2013.
18        Defense counsel have authorized Assistant U.S. Attorney Todd
19   Leras to sign this stipulation on their behalf.
20                                             Respectfully submitted,
21                                             BENJAMIN B. WAGNER
                                               United States Attorney
22
23   DATED: May 2, 2013                  By: /s/ Todd D. Leras
                                             TODD D. LERAS
24                                           Assistant U.S. Attorney
25
26   DATED: May 3, 2013                  By: /s/ Todd D. Leras for
                                             DENNIS WAKS
27                                           Attorney for Defendant
                                             KHAMLE KEOVILAY
28

                                           2
           Case 2:09-cr-00222-TLN Document 188 Filed 05/08/13 Page 3 of 4


1
2    DATED: May 3, 2013                  By: /s/ Todd D. Leras for
                                             ALICE WONG
3                                            Attorney for Defendant
                                             DAVID CHENG
4
5    DATED: May 3, 2013                  By: /s/ Todd D. Leras for
                                             MICHAEL BIGELOW
6                                            Attorney for Defendant
                                             MINH THAM
7
8    DATED: May 3, 2013                  By: /s/ Todd D. Leras for
                                             MICHAEL LONG
9                                            Attorney for Defendant
                                             DUNG NGUYEN
10
11   DATED: May 6, 2013                  By: /s/ Todd D. Leras for
                                             OLAF HEDBERG
12                                           Attorney for Defendant
                                             SANG SAELEE
13
14   DATED: May 3, 2013                  By: /s/ Todd D. Leras for
                                             CHRISTOPHER WING
15                                           Attorney for Defendant
                                             LONG NGUYEN
16
17   DATED: May 6, 2013                  By: /s/ Todd D. Leras for
                                             KEN GIFFARD
18                                           Attorney for Defendant
                                             TUAN DAO
19
20
21
22
23
24
25
26
27
28

                                           3
           Case 2:09-cr-00222-TLN Document 188 Filed 05/08/13 Page 4 of 4


1
2                                       ORDER
3         A status conference is set in this matter for June 6, 2013, at
4    9:30 a.m.   Based on the representations of the parties, the Court
5    finds that the ends of justice served by granting the continuance
6    outweigh the best interest of the public and the defendants in a
7    speedy trial.   Time under the Speedy Trial Act shall be excluded
8    under 18 U.S.C. § 3161(h)(7)(B)(4) and Local Code T-4 up to and
9    including the period from May 3, 2013 to June 6, 2013.
10
11   DATED: May 7, 2013
12
13
14
                                      Troy L. Nunley
15
                                      United States District Judge
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           4
